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                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

    BROOK PLAISANCE, ET AL.                                    CIV. ACTION NO. 3:21-CV-00121

    VERSUS                                                          JUDGE BRIAN A. JACKSON

    STATE OF LOUISIANA, ET AL.                         MAG. JUDGE ERIN WILDER-DOOMES


      THE STATE OF LOUISIANA’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
                         PRELIMINARY INJUNCTION


MAY IT PLEASE THE COURT:

        Now into Court comes Defendant, the State of Louisiana (“State”), which, pursuant to the

Court’s March 16, 2021 Order, 1 respectfully submits this Opposition to Plaintiffs’ Motion for

Preliminary Injunction (Rec. Doc. 11).

                                  SUMMARY OF ARGUMENT

        At the outset, the State observes that it is unclear whether Plaintiffs seek injunctive relief

against the State, itself. Plaintiffs’ Complaint alleges that they sued the State because they believe

the State is “a proper Defendant in an action for damages pursuant to 42 United States Code

Section 1983.” 2 Nevertheless, because Plaintiffs direct their Motion for injunctive relief in

“shotgun” fashion against all “Defendants,” 3 the State submits this opposition thereto in abundance

of caution.




1
  Rec. Doc. 13.
2
  Rec. Doc. 1 at p. 5, ¶ 13.
3
  Farmco, Inc. v. Gautreaux, No. 12-CV-00457-BAJ-RLB, 2014 WL 1327983, at *1 (M.D. La. Mar. 31, 2014), FN
3; Satterfeal v. LoanCare, LLC, No. CV 18-1021-JWD-EWD, 2019 WL 2857993, at *2 (M.D. La. July 2, 2019);
Williams v. Am. Com. Lines, Inc., No. CV 20-139-SDD-EWD, 2020 WL 4574515, at *1 (M.D. La. July 23,
2020), report and recommendation adopted, No. CV 20-139-SDD-EWD, 2020 WL 4572338 (M.D. La. Aug. 7, 2020),
FN 25.

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         Plaintiffs have not met their exceptionally high burden of meeting all four prerequisites for

issuing a preliminary injunction against the State. More specifically, Plaintiffs cannot show a

likelihood of success on the merits of their claims against the State because the Court lacks

jurisdiction over Plaintiffs’ claims. As detailed in the State’s pending Motion to Dismiss pursuant

to Fed. R. Civ. P. 12, the Eleventh Amendment preserves States’ sovereign immunity from suits

by citizens in federal court, 4 and Louisiana has further-preserved its sovereign immunity by statute.

La. R.S. 13:5106(A). This Court therefore lacks subject matter jurisdiction over Plaintiffs’ claims,

and Plaintiffs cannot meet their burden of proving a likelihood of success on the merits of their

claims against the State. The State respectfully asks the Court to deny Plaintiffs’ Motion for

Preliminary Injunction to the extent such Motion seeks relief directly from the State of Louisiana

as Defendant.

    I.   Legal Standards Applicable to Preliminary Injunctions

         As recognized in the Court’s recent Order denying Plaintiffs’ request for a Temporary

Restraining Order, injunctions are “an extraordinary and drastic remedy, and should only be

granted when the movant has clearly carried the burden of persuasion.” 5 The requesting party

“must show: (1) a substantial likelihood that plaintiff will prevail on the merits, (2) a substantial

threat that plaintiff will suffer irreparable injury if the injunction is not granted, (3) that the

threatened injury to plaintiff outweighs the threatened harm the injunction may do to defendant,

and (4) that granting the preliminary injunction will not disserve the public interest.” 6 If Plaintiffs

fail to carry their burden with respect to any of these “necessary elements, the Court need not

address the other elements necessary for granting a preliminary injunction.” Roberts v. Vannoy,



4
  Rec. Doc. 8.
5
  Rec. Doc. 13 at p. 3 (citing Anderson v. Jackson, 556 F.3d 351, 360 (5th Cir. 2009).
6
  Id. at pp. 3–4. (citing Holland Am. Ins. Co. v. Succession of Roy, 777 F.2d 992, 997 (5th Cir. 1974)).

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No. 16-CV-600, 2017 WL 2256962 at *2 (citing Roho, Inc. v. Marquis, 902 F.2d 356, 361 (5th Cir.

1990)).

           A preliminary injunction should be used “to preserve the status quo during litigation to

determine the merits of the case for permanent injunction.” Hollon v. Mathis Indep. Sch. Dist., 491

F.2d 92, 93 (5th Cir. 1974). Indeed, granting a “preliminary injunction is to be treated as the

exception rather than the rule.” Mississippi Power & Light Co. v. United Gas Pipe Line Co., 760

F.2d 618, 621 (5th Cir. 1985). This is especially true when a preliminary injunction is sought

against the State because “[c]onsiderations of federalism weigh heavily against interference by

federal courts through the issuance of temporary restraining orders or preliminary injunctions

against state agencies.” Roberts, 2017 WL 2256962 at *4. In this case, where Plaintiffs have not

met their burden of proving entitlement to a preliminary injunction, the Court should deny

Plaintiffs’ requested relief.

    II.    Plaintiffs cannot prevail on their claims against the State because the Court lacks
           subject matter jurisdiction over Plaintiffs’ Claims.

           As discussed in the State’s pending Motion to Dismiss, the State enjoys sovereign

immunity from suits in federal court. 7 Sovereign immunity is “is the privilege of the sovereign not

to be sued without its consent.” Virginia Office for Prot. & Advocacy v. Stewart, 563 U.S. 247,

253; 131 S.Ct. 1632, 1637; 179 L.Ed.2d 675 (2011). The Eleventh Amendment to the United States

Constitution preserves states’ sovereign immunity:

           The Judicial power of the United States shall not be construed to extend to any suit
           in law or equity, commenced or prosecuted against of the United States by Citizens
           of another State, or by Citizens or Subjects of any Foreign State.

The Eleventh Amendment also prohibits suits by a State’s own citizens in federal court. See, e.g.,

Hans v. Louisiana, 134 U.S. 1, 10 S.Ct. 504, 33 L.Ed. 842 (1890). Plaintiffs are current and former


7
    Rec. Doc. 8-1, Memorandum in Support of the State’s Motion to Dismiss, at Part. I, pp. 3–6.

                                                           3
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Louisiana citizens, and therefore the Eleventh Amendment prevents Plaintiffs from pursuing their

claims directly against the State in this forum unless the State has waived its sovereign immunity

or Congress has abrogated such immunity. Will v. Michigan Dep’t. of State Police, 491 U.S. 58;

109 S.Ct. 2304, 2309; 105 L.Ed.2d 45 (1989).

        Louisiana has not waived its sovereign immunity from suit in federal court, and in fact has

preserved such immunity via statute. Louisiana Revised Statutes Section 13:5106(A)

unequivocally states: “No suit against the state or a state agency or political subdivision shall be

instituted in any court other than a Louisiana state court.” This Court and others have concluded

that the State of Louisiana has not waived its sovereign immunity from suits in federal court.

Johnson-Blount v. Bd. of Sup’rs for S. Univ., 994 F.Supp.2d 780, 783 (M.D. La.2014) (Although

“Louisiana may have waived state sovereign immunity in some cases tried in state court, it has not

waived immunity such that it can be sued in federal court. To the contrary, Louisiana explicitly

maintains its sovereign immunity by statute.”); and, Citrano v. Allen Correctional Center, 891

F.Supp. 312, 320 (W.D. La. 1995) (“The State of Louisiana has waived sovereign immunity in tort

contract suits but it has not waived its immunity under the Eleventh Amendment from suit in

federal court.”).

        Because the State has not waived sovereign immunity, Plaintiffs may only pursue their

claims directly against the State if Congress has abrogated the State’s sovereign immunity.

Congress has not done so. Plaintiffs bring their claims against the State pursuant to 42 U.S.C. §

1983. 8 The Supreme Court has held that Section “1983 does not abrogate the Eleventh Amendment

immunity of the States.” Quern v. Jordan, 440 U.S. 332; 99 S.Ct. 1139, 1141 (1979); see also,



8
 Rec. Doc. 1, Complaint, at ¶ 2 (“Jurisdiction is invoked under 42 U.S.C. section 1983”) and ¶ 13 (“Defendant State
of Louisiana is sued as a proper Defendant in an action for damages pursuant to 42 United States Code Section
1983”).

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Lewis v. Univ. of Texas Med. Branch at Galveston, 665 F.3d 625, 630 (5th Cir. 2011) (dismissing

claims under 42 U.S.C. § 1983 and observing that Congress has not “expressly waived sovereign

immunity for § 1983 suits.”). Although “Section 1983 provides a federal forum to remedy many

deprivations of civil liberties . . . it does not provide a federal forum for litigants who seek a remedy

against a State for alleged deprivations of civil liberties.” Will, 491 U.S. at 67, 109 S. Ct. at 2309.

           Because Louisiana enjoys sovereign immunity from Plaintiffs’ claims against it in federal

court, Plaintiffs cannot carry their burden of proving they are likely to succeed on the merits of

their claims. Therefore, Plaintiffs’ request for preliminary injunction against the State—to the

extent they seek injunctive relief directly from the State—should be denied.

           A. The State is not a “person” within the meaning of Section 1983.

           Plaintiffs bring their claims against the State pursuant to 42 U.S.C. § 1983. 9 However,

Section 1983 creates a cause of action against “persons” who have deprived the plaintiff of some

right, privilege, or immunity secured by the Constitution and laws of the United States. The State

is not a “person” within the meaning of Section 1983. Washington v. Louisiana, 425 Fed. Appx.

330, 333 (5th Cir. 2011) (“Under Title 42 §§ 1983 and 1985, claimants have a cause of action for

civil rights violations only against ‘persons.’ The State [of Louisiana] and DPSC are not persons

within the meaning of the statutes.”) (citing Will, supra, 491 U.S. 58, 63–71, 109 S.Ct. 2304).

Because the State is not a “person” under Section 1983, Plaintiffs cannot show a likelihood of

success on the merits of their claims against the State, and their request for preliminary injunction

should also be denied on that basis.




9
    Rec. Doc. 1 at p. 5, ¶ 13.

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                                         CONCLUSION

           The State respectfully asks that the Court deny Plaintiffs’ request for Preliminary

Injunction against the State. As detailed herein and in the State’s pending Rule 12 Motion to

Dismiss, this Court lacks subject matter jurisdiction over Plaintiffs’ claims. 10 Because Plaintiffs

cannot possibly meet their burden of proving a likelihood of success on their claims against the

State, Plaintiffs’ claims request for preliminary injunction against the State should be denied.

                                                  Respectfully submitted:

                                                  JEFF LANDRY,
                                                  ATTORNEY GENERAL


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     Rec. Doc. 8.

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                               CERTIFICATE OF SERVICE

        I CERTIFY I have served the foregoing was filed electronically and served on counsel for
the parties by electronic notification by CM/ECF on March 26, 2021.

                                     /s/ C. Austin Holliday
                                       C. Austin Holliday




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